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                                   UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                         WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                       Plaintiff,                        Case No. 5:21-cv-00056-LGW-BWC

         v.                                              DECLARATION OF ELIZABETH A.
                                                         MCNAMARA IN SUPPORT OF
NBCUNIVERSAL MEDIA, LLC,                                 NBCU’S MOTION FOR
                                                         SUMMARY JUDGMENT
                       Defendant.




         I, Elizabeth A. McNamara, being of lawful age and otherwise competent to testify in a

court of law, hereby declare pursuant to 28 U.S.C. §1746 and under penalty of perjury that the

following is true and correct:

         1.        I am a partner at Davis Wright Tremaine LLP, counsel for Defendant

NBCUniversal Medial, LLC (“NBCU”). I make this declaration in support of the foregoing

Defendant’s Motion for Summary Judgment and for the limited purpose of attaching documents

relevant to that Motion.

         2.        Annexed hereto as Exhibit 1 is a true and correct copy of a chart of the 33

challenged statements from the MSNBC News Reports.

         3.        Annexed hereto as Exhibit 2 is a true and correct copy of the Whistleblower

Complaint, bates stamped NBCU001536.

         4.        Annexed hereto as Exhibit 3 is a true and correct copy of the excerpts of the

deposition testimony of plaintiff, Dr. Mahendra Amin.




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         5.        Annexed hereto as Exhibit 4 are true and correct copy of emails from Project South

forwarding the Complaint, dated September 14, 2020, bates stamped PROJECT SOUTH 000211-

214.


         6.        Annexed hereto as Exhibit 5 is a true and correct copy of a confirmation of receipt

of the Whistleblower Complaint by United States Immigration and Customs Enforcement (“ICE”),

bates stamped ICE_0015096-98;

         7.        Annexed hereto as Exhibit 6 is a true and correct copy of a Department of

Homeland Security (“DHS”) memorandum, dated September 12, 2022, bates stamped

DHS000034-39.

         8.        Annexed hereto as Exhibit 7 is a true and correct copy of the excerpts of deposition

testimony of Warden David Paulk, warden of Irwin County Detention Center (“ICDC”) at the time

of the Whistleblower Complaint.

         9.        Annexed hereto as Exhibit 8 is a true and correct copy of an email from Warden

Paulk to ICE, dated September 15, 2020, bates stamped ICE-0014699.

         10.       Annexed hereto as Exhibit 9 is a true and correct copy of an email sent from Dr.

Amin’s counsel on October 6, 2020, to Dawn Wooten and Project South, bates stamped

AMIN_0011982.

         11.       Annexed hereto as Exhibit 10 is a true and correct copy of Project South’s response

to the October 6 letter, dated October 12, 2020, bates stamped AMIN_0011979.

         12.       Annexed hereto as Exhibit 11 is a true and correct copy of a news report by the

Associated Press titled “Nurse questions medical care, operations on detainees at immigration jail

in Georgia”, dated September 14, 2020.




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         13.       Annexed hereto as Exhibit 12 is a true and correct copy of a news report by Law

& Crime titled “Like an Experimental Concentration Camp’: Whistleblower Complaint Alleges

Mass Hysterectomies at ICE Detention Center,” dated September 14, 2020, bates stamped

NBCU001568.

         14.       Annexed hereto as Exhibit 13 is a true and correct copy of a news report by Law360

titled “Whistleblower Reports Poor Medical Care at Ga. ICE Facility,” dated September 14, 2020,

bates stamped NBCU001606.

         15.       Annexed hereto as Exhibit 14 is a true and correct copy of a news report by Daily

Beast titled, “ICE Whistleblower Complaint Alleges ‘Uterus Collector’ Doctor Performed Mass

Hysterectomies,” dated September 14, 2020, bates stamped NBCU001933.

         16.       Annexed hereto as Exhibit 15 is a true and correct copy of a news report by VICE

titled, “Staggering Number of Hysterectomies Happening at ICE Facility, Whistleblower Says,”

dated September 14, 2020, bates stamped NBCU001583.

         17.       Annexed hereto as Exhibit 16 is a true and correct copy of a news report by

Business Insider titled, “A Whistleblower is Accusing Doctors at an ICE Detention Center of

Surgically Removing The Wombs of Immigrant Women,” dated September 14, 2020, bates

stamped NBCU001590.

         18.       Annexed hereto as Exhibit 17 is a true and correct copy of a news report by The

Guardian titled, “ICE Detainees Faced Medical Neglect and Hysterectomies, Whistleblower

Alleges,” dated September 14, 2020, bates stamped NBCU001601.

         19.       Annexed hereto as Exhibit 18 is a true and correct copy of a news report by the

Atlanta Journal Constitution titled, “Whistleblower Blasts Georgia Immigration Detention

Center’s Covid-19 Response,” dated September 14, 2020, bates stamped NBCU001926.



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         20.       Annexed hereto as Exhibit 19 is a true and correct copy of excerpts of the

deposition of Maria Nito.

         21.       Annexed hereto as Exhibit 20 is a true and correct copy of a news report by CBS

News titled, “Questionable Hysterectomies and Shoddy Covid Care Alleged at Georgia

Immigration Detention Center,” dated September 15, 2020, bates stamped NBCU001613.

         22.       Annexed hereto as Exhibit 21 is a true and correct copy of a news report by Forbes

titled, “Pelosi Calls for Investigation Into Claims of ass Hysterectomies, Poor Covid-19 Care at

Ice Detention Center,” dated September 15, 2020, bates stamped NBCU001645.

         23.       Annexed hereto as Exhibit 22 is a true and correct copy of a news report by Prism

titled, “Exclusive: Georgia doctor who forcibly sterilized detained women has been identified,”

dated September 15, 2020, bates stamped NBCU001501.

         24.       Annexed hereto as Exhibit 23 is a true and correct copy of a news report by The

Intercept titled, “‘He Just Empties You All Out’: Whistleblower Reports High Number of

Hysterectomies at ICE Detention Facility,” dated September 15, 2020, bates stamped

NBCU001619.

         25.       Annexed hereto as Exhibit 24 is a true and correct copy a news report by UPI.com

titled, “Complaints Allege Neglect, Sterilization at Georgia Migrant Facility,” dated September

15, 2020, bates stamped NBCU001563.

         26.       Annexed hereto as Exhibit 25 is a true and correct copy of a news report by The

Augusta Chronicle titled, “Nurse: Questionable Hysterectomies Performed at Georgia

Immigration Jail,” dated September 15, 2020, bates stamped NBCU001658.

         27.       Annexed hereto as Exhibit 26 is a true and correct copy of the Associated Press

article re-published by NBCU News on September 15, 2020, bates stamped NBCU003171.



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         28.       Annexed hereto as Exhibit 27 is a true and correct copy of a news report by The

Hill titled, “Whistleblower Complaint Alleges Widespread Abuse on Migrant Detainees,” dated

September 15, 2020, bates stamped NBCU001642.

         29.       Annexed hereto as Exhibit 28 is a true and correct copy of a news report by Huff

Post titled, “Whistleblower Says Doctor Performed Excessive Hysterectomies on ICE Detainee,”

dated September 15, 2020, bates stamped NBCU001650.

         30.       Annexed hereto as Exhibit 29 is a true and correct copy of a news report by

Refinery.com titled, “An ICE Nurse Revealed that A U.S. Detention Centre is Performing Mass

Hysterectomies,” dated September 15, 2020, bates stamped NBCU001609.

         31.       Annexed hereto as Exhibit 30 is a true and correct copy of excerpts of the

deposition of Julia Ainsley.

         32.       Annexed hereto as Exhibit 31 is a true and correct copy of excerpts of the

deposition of Chris Scholl.

         33.       Annexed hereto as Exhibit 32 is a true and correct copy of excerpts of the

deposition of Jacob Soboroff.

         34.       Annexed hereto as Exhibit 33 is a true and correct copy of excerpts of the

deposition of Andrew Free.

         35.       Annexed hereto as Exhibit 34 is at true and correct copy of a news report by Reuters

titled, “U.S. Watchdog to investigate whistleblower’s detention allegations,” dated September 15,

2020, bates stamped NBCU001640.

         36.       Annexed hereto as Exhibit 35 is a true and correct copy of a news report by USA

Today titled, “Alleged unwanted hysterectomies and other abuses at ICE facility prompts

investigation,” dated September 17, 2020, bates stamped NBCU001738.



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         37.       Annexed hereto as Exhibit 36 is a true and correct copy of email from Benjamin

Osorio to Andrew Free, dated September 15, 2020, bates stamped OSORIO_0000038.

         38.       Annexed hereto as Exhibit 37 is a true and correct copy of an email sent to ICDC

with concerns regarding medical care of inmates, dated November 9, 2018, bates stamped

LaSalle_0409155.

         39.       Annexed hereto as Exhibit 38 is a true and correct copy of an email between

Ainsley and Soboroff discussing a settled Department of Justice Action (“DOJ”) against Irwin

County Hospital (“ICH”) and doctors, dated September 15, 2020, bates stamped NBCU002660.

         40.       Annexed hereto as Exhibit 39 is a true and correct copy of the DOJ Complaint

against ICH and doctors, Case No. 7:13-cv-00097-HL (M.D. Ga. 2013).

         41.       Annexed hereto as Exhibit 40 is a true and correct copy of an email thread from

Ainsley to Scholl and others, dated September 15, 2020, bates stamped NBCU002644.

         42.       Annexed hereto as Exhibit 41 is a true and correct copy of email thread with

Soboroff and Ainsley seeking comment from LaSalle Corrections, dated September 15, 2020,

bates stamped NBCU003006.

         43.       Annexed hereto as Exhibit 42 is a true and correct copy of excerpts of the

deposition of Mark Schone.

         44.       Annexed hereto as Exhibit 43 is a true and correct copy of email from Chris Scholl

requesting NBC News Article be submitted to NewsConnect, dated September 15, 2020, bates

stamped NBCU002695.

         45.       Annexed hereto as Exhibit 44 is a true and correct copy of the NBC News Article

as posted to NewsConnect, dated September 15, 2020, bates stamped NBCU002307.




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         46.       Annexed hereto as Exhibit 45 is a true and correct copy of the Article updated to

include a comment received from Lasalle, bates stamped NBCU002318.

         47.       Annexed hereto as Exhibit 46 is a true and correct copy of the Article updated to

include Dr. Amin’s statement, bates stamped NBCU002333.

         48.       Annexed hereto as Exhibit 47 is a true and correct copy of the Department of

Homeland Security’s OIG Report titled, “Medical Processes and Communication Protocols Need

Improvement at Irwin County Detention Center,” dated January 3, 2022, bates stamped

AMIN_0011294.

         49.       Annexed hereto as Exhibit 48 is a true and correct copy of an ICE internal email,

dated September 15, 2020, bates stamped ICE001630.

         50.       Annexed hereto as Exhibit 49 is a true and correct copy of an email thread between

ICE employees discussing Dr. Amin, dated September 16, 2020, bates stamped NBCU001910.

         51.       Annexed hereto as Exhibit 50 is a true and correct copy of a National Practitioners

Data Bank Report, dated May 13, 2020, bates stamped AMIN_0011707.

         52.       Annexed hereto as Exhibit 51 is a true and correct copy of ICE email to LaSalle,

dated September 21, 2020, bates stamped LaSalle 416494.

         53.       Annexed hereto as Exhibit 52 is a true and correct copy of a letter from Dr. Amin

to ICDC, dated September 21, 2020, bates stamped LaSalle_416950.

         54.       Annexed hereto as Exhibit 53 is a true and correct copy of a tweet by Georgia State

Representative Bob Trammell, dated September 14, 2020, bates stamped NBCU004149.

         55.       Annexed hereto as Exhibit 54 is a true and correct copy Rep. Trammell’s letter to

the Georgia Composite Medical Board and Georgia Board of Nursing, dated September 14, 2020,

bates stamped NBCU001911.



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         56.       Annexed hereto as Exhibit 55 is a true and correct copy of a tweet by Nancy Pelosi,

dated September 15, 2020, bates stamped NBCU004174.

         57.       Annexed hereto as Exhibit 56 is a true and correct copy of a press release by

Representative Bennie G. Thompson, dated September 15, 2020, bates stamped NBCU001914.

         58.       Annexed hereto as Exhibit 57 is a true and correct copy of a letter from 173

members of Congress to the DHS Inspector General, dated September 15, 2020, bates stamped

NBCU001526, and a true and correct copy of Thompson’s tweet linking the letter is attached as

Exhibit 58, dated September 16, 2020, bates stamped NBCU004134.

         59.       Annexed hereto as Exhibit 59 is a true and correct copy of a letter from

Representative Jamie Raskin and Carolyn Maloney to Joseph Cuffari at DHS-OIG, dated

September 15, 2020, bates stamped NBCU001523.

         60.       Annexed hereto as Exhibit 60 is a true and correct copy is a tweet by Senator Cory

Booker, dated September 16, 2020, bates stamped NBCU004130.

         61.       Annexed hereto as Exhibit 61 are true and correct copies of public comments by

then State Representative Candidate Stacey Evans, bates stamped NBCU004175-76.

         62.       Annexed hereto as Exhibit 62 are true and correct copies of notices that the Georgia

Composite Medical Board began to investigate the allegations against Dr. Amin, dated September

18, 2020, bates stamped AMIN_000086 and AMIN_0000204.

         63.       Annexed hereto as Exhibit 63 is a true and correct copy of a letter from Dr. Amin

to the Georgia Composite Medical Board, dated May 5, 2021, bates stamped AMIN_0000949.

         64.       Annexed hereto as Exhibit 64 is a true and correct copy of a letter to Dr. Amin

from the Georgia Composite Medical Board concluding the investigation, dated April 6, 2023,

bates stamped AMIN_0013379.



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         65.       Annexed hereto as Exhibit 65 is a true and correct copy of an email thread between

the DOJ and Dr. Amin’s counsel, dated October 16, 2020, bates stamped AMIN_0013924.

         66.       Annexed hereto as Exhibit 66 is a true and correct copy of a letter to Warden Paulk

from Congress requesting testimony of inmates at ICDC, dated October 1, 2020, bates stamped

FREE_0000018.

         67.       Annexed hereto as Exhibit 67 is a true and correct copy of testimony from the

Closed Briefing for the Senate Democratic Caucus by Survivors of Medical Abuse and Neglect at

ICDC, dated October 26, 2020, bates stamped OSORIO_001257.

         68.       Annexed hereto as Exhibit 68 is a true and correct copy of the Senate Permanent

Subcommittee on Investigations for the Committee on Homeland Security and Governmental

Affairs Staff Report on “Medical Mistreatment of Women in ICE Detention” (the “Senate

Report”), bates stamped NBCU002045.

         69.       Annexed hereto as Exhibit 69 is a true and correct copy of a news report by The

Ocilla Star titled, “Revelations Against Dr. Amin. ICDC Come to Light in Senate Report,” dated

November 23, 2022, bates stamped NBCU003943.

         70.       Annexed hereto as Exhibit 70 is a true and correct copy of statement of Dr. Stewart

D. Smith of ICE Health Services Corps regarding a hearing on the Senate Report, dated November

15, 2020, bates stamped NBCU003874.

         71.       Annexed hereto as Exhibit 71 is a true and correct copy of the opening statement

of John Ossoff at the Senate Report hearing, dated November15, 2022, bates stamped

NBCU003895.




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         72.       Annexed hereto as Exhibit 72 is a true and correct copy of an email from DHS

Legislative Affairs regarding ICE closure of two detention centers, dated May 20, 2021, bates

stamped REP.JAYAPAL00044-45.

         73.       Annexed hereto as Exhibit 73 is a true and correct copy of Andrew Free’s

communications with United States Senate Permanent Subcommittee on Investigations, of the

Committee on Homeland Security and Government Affairs, bates stamped FREE_001452.

         74.       Annexed hereto as Exhibit 74 is a true and correct copy of a letter from Dr. Amin

declining to submit to an interview the Subcommittee, dated October 27, 2021, bates stamped

AMIN_0011787.

         75.       Annexed hereto as Exhibit 75 is a true and correct copy of an email thread between

Dr. Amin and the Subcommittee declining an interview, bates stamped AMIN_0011838.

         76.       Annexed hereto as Exhibit 76 is a true and correct copy of the Affidavit of Dr.

Amin, bates stamped AMIN_0011846.

         77.       Annexed hereto as Exhibit 77 is a true and correct copy of Dr. Amin’s letter to the

Permanent Subcommittee on Investigations “PSI”, dated February 21, 2022, bates stamped

AMIN_0011848.

         78.       Annexed hereto as Exhibit 78 is a true and correct copy of notes from PSI, bates

stamped AMIN_0011895.

         79.       Annexed hereto as Exhibit 79 is a true and correct copy of excerpts of the

deposition of Chris Hayes.

         80.       Annexed hereto as Exhibit 80 is a true and correct copy of excerpts of the

deposition of Denis Horgan.




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         81.       Annexed hereto as Exhibit 81 is a true and correct copy of excerpts of the

deposition of Alexander Price.

         82.       Annexed hereto as Exhibit 82 is a true and correct copy of excerpts of the

deposition of Rachel Maddow.

         83.       Annexed hereto as Exhibit 83 is a true and correct copy of excerpts of the

deposition of Cory Gnazzo.

         84.       Annexed hereto as Exhibit 84 is a true and correct copy of an email from The

Rachel Maddow Show (“TRMS”) to Project South, dated September 14, 2020, bates stamped

PROJECT SOUTH 002875.

         85.       Annexed hereto as Exhibit 85 are medical records for “B”, bates stamped

AMIN_007070.

         86.       Annexed hereto as Exhibit 86 is a true and correct copy of an email thread

discussing a statement from Dr. Amin, bates stamped AMIN_0000075.

         87.       Annexed hereto as Exhibit 87 is a true and correct copy of an email thread with All

In producers and Dr. Amin’s counsel, dated September 17, 2020, bates stamped NBCU000741.

         88.       Annexed hereto as Exhibit 88 is a true and correct copy of a news report by the

Washington Post titled, “Pelosi Demands Probe After ICE Nurse Raises Alarm Over Medical Care,

Hysterectomies at Detention Center,” dated September 15, 2020, bates stamped NBCU001506.

         89.       Annexed hereto as Exhibit 89 is a true and correct copy of a news report by

Douglas Now titled, “Complaint Against Irwin County Detention Center Alleges Poor COVID-19

Protocols, Non-Consensual Hysterectomies,” dated September 15, 2020, bates stamped

NBCU004092.




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         90.       Annexed hereto as Exhibit 90 is a true and correct copy of a news report by Fox

News titled, “Georgia Prison with ICE Detainees Performs Questionable Hysterectomies, Shreds

Coronavirus Records: Nurse,” dated September 15, 2020, bates stamped NBCU001671.

         91.       Annexed hereto as Exhibit 91 is a true and correct copy of a news report by Fox

News Atlanta titled, “Federal Complaint: Questionable Hysterectomies, Lack of Covid Test at Ga.

Immigrant Detention Center,” dated September 15, 2020, bates stamped NBCU004021.

         92.       Annexed hereto as Exhibit 92 is a true and correct copy of a news report by Elle

Magazine titled, “ICE Whistleblower Says a ‘Uterus Collector’ Is Reportedly Performing

Hysterectomies on Immigrant Women,” dated September 15, 2020, bates stamped NBCU001675.

         93.       Annexed hereto as Exhibit 93 is a true and correct copy of a news report by CNN

titled, “Whistleblower Alleges High Rate of Hysterectomies and Medical Neglect at ICE Facility,”

dated September 16, 2020, bates stamped NBCU001682.

         94.       Annexed hereto as Exhibit 94 is a true and correct copy of a news report by The

Wall Street Journal titled, “ U.S. Opens Investigation Into Claims of Forced Hysterectomies on

Detained Migrants, dated September 16, 2020, bates stamped NBCU001751.

         95.       Annexed hereto as Exhibit 95 is a true and correct copy of a news report by The

New York Times titled, “Inquiry Ordered into Claims Immigrants Had Unwanted Gynecology

Procedures,” dated September 16, 2020, bates stamped NBCU001758, NBCU002223.

         96.       Annexed hereto as Exhibit 96 is a true and correct copy of a news report by The

Hindustan Times titled, “Outrage, Calls for Probe as US Nurse Raises Alarm Over Mass

Hysterectomies,” dated September 17, 2020, bates stamped NBCU003934.




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         97.       Annexed hereto as Exhibit 97 is a true and correct copy of a news report by the

Atlanta Journal Constitution titled, “At ICE detention center, red flag raised about gynecologist,”

dated October 2, 2020, bates stamped NBCU003968.

         98.       Annexed hereto as Exhibit 98 is a true and correct copy of an article published by

Roll Call titled, “5 Hysterectomies Referred from ICE Center, DHS Tells Congress,” dated

October 7, 2020, bates stamped NBCU002365.

         99.       Annexed hereto as Exhibit 99 is a true and correct copy of a news report by the Los

Angeles Times titled, “19 Women Allege Medical Abuse in Georgia Immigration Detention,”

DATED October 23, 2020, bates stamped NBCU002024.

         100.      Annexed hereto as Exhibit 100 is a true and correct copy of a news report by the

Atlanta Journal Constitution titled, “At Georgia Immigration Jail, Warnings About Women’s

Medical Care Went Unheeded,” dated June 5, 2021, bates stamped NBCU002042.

         101.      Annexed hereto as Exhibit 101 is a true and correct copy of a news report by The

Ocilla Star titled, “Demonstrators Hold Rally outside of Irwin Detention Center Whistleblower

Complaint Leads to Protest in Ocilla,” dated September 23, 2020, bates stamped NBCU004087.

         102.      Annexed hereto as Exhibit 102 is a true and correct copy of a news report by The

Ocilla Star titled, “Irwin County Hospital Issues Statement on Irwin County Detention Center

Allegations,” dated September 30, 2020, bates stamped NBCU004089.

         103.      Annexed hereto as Exhibit 103 is a true and correct copy of a news report by

Douglas Now titled, “Migrant Women Endured Medical Mistreatment at Georgia ICE Facility,

U.S. Senate Report Finds,” dated November 16, 2022, bates stamped NBCU004097.




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         104.      Annexed hereto as Exhibit 104 is a true and correct copy of the Testimony of

Inspector General, Joseph V. Cuffari before the Permanent Subcommittee on Investigations dated

November 15, 2022, bates stamped NBCU003859.

         105.      Annexed hereto as Exhibit 105 is a true and correct copy of the Second Amended

Consolidated Petition for Writ of Habeas Corpus—which is now the operative complaint in the

Oldaker action, dated December 1, 2022, bates stamped AMIN_0012167.

         106.      Annexed hereto as Exhibit 106 is a true and correct copy of a news report by the

Daily Mail titled, “Group of 35 Immigrant Women Sue ICE over ‘abuse by a Georgia Doctor

Accused of Performing Hysterectomies Without Consent,” dated December 22, 2020, bates

stamped NBCU003916.

         107.      Annexed hereto as Exhibit 107 is a true and correct copy of a news report by

Huffington Post titled, “Immigrant Women File Lawsuit Against ICE and Georgia Doctor Alleging

Medical Abuse,” dated December 22, 2020, bates stamped NBCU003919.

         108.      Annexed hereto as Exhibit 108 is a true and correct copy of the August 21, 2021

retraction demand letter from Dr. Amin to MSNBC, bates stamped AMIN_005463.

         109.      Annexed hereto as Exhibit 109 is a true and correct copy of NBCUniversal’s first

set of Interrogatories to Dr. Amin, dated March 18, 2022.

         110.      Annexed hereto as Exhibit 110 is a true and correct copy of Plaintiff’s Responses

to NBCU’s First Set of Interrogatories, dated April 18, 2022.

         111.      Annexed hereto as Exhibit 111 is a true and correct copy of the medical records of

BPR bates stamped AMIN_0007070 and AMIN_0007345.

         112.      Annexed hereto as Exhibit 112 is a true and correct copy of the medical records of

KC, bates stamped AMIN_0004472.



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         113.      Annexed hereto as Exhibit 113 is a true and correct copy of the medical records of

CM, bates stamped AMIN_0007968.

         114.      Annexed hereto as Exhibit 114 is a true and correct copy of the medical records of

RFS, bates stamped AMIN_0002202.

         115.      Annexed hereto as Exhibit 115 is a true and correct copy of the medical records of

WD, bates stamped AMIN_0001846.

         116.      Annexed hereto as Exhibit 116 is a true and correct copy of excerpts of the

deposition of Dr. Ted Anderson.

         117.      Annexed hereto as Exhibit 117 is a true and correct copy of excerpts of the

deposition of LW.

         118.      Annexed hereto as Exhibit 118 is a true and correct copy of excerpts of the

deposition of MCR.

         119.      Annexed hereto as Exhibit 119 is a true and correct copy of excerpts of the

deposition of KJRR.

         120.      Annexed hereto as Exhibit 120 is a true and correct copy of excerpts of the

deposition of KP.

         121.      Annexed hereto as Exhibit 121 is a true and correct copy of excerpts of the

deposition of YRJ.

         122.      Annexed hereto as Exhibit 122 is a true and correct copy of excerpts of the

deposition of BPR.

         123.      Annexed hereto as Exhibit 123 is a true and correct copy of excerpts of the

deposition of PB.




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         124.      Annexed hereto as Exhibit 124 is a true and correct copy of the medical records of

LT, bates stamped AMIN_0010363.

         125.      Annexed hereto as Exhibit 125 is a true and correct copy of ICDC Psychiatric

Progress Note, dated August 28, 2019, bates stamped LaSalle_240320.

         126.      Annexed hereto as Exhibit 126 is a true and correct copy of medical records of

DGL, bates stamped ICH004395.006.

         127.      Annexed hereto as Exhibit 127 is a true and correct copy of Plaintiff’s Response

in Opposition to Non-Party Mbeti Ndonga’s Motion to Stay and to Quash Deposition Subpoena

or, In the Alternative to Modify, dated March 30, 2023, bates stamped Caron 0948.

         128.      Annexed hereto as Exhibit 128 is a true and correct copy of the expert report of Dr.

Erin Carey.

         129.      Annexed hereto as Exhibit 129 is a true and correct copy of the spreadsheet of

patient records reviewed by Dr. Carey.

         130.      Annexed hereto as Exhibit 130 is a true and correct copy of the expert materials of

Dr. Eldridge F. Bills.

         131.      Annexed hereto as Exhibit 131 is a true and correct copy of the expert report of Dr.

Lauren F. Hamilton.

         132.      Annexed hereto as Exhibit 132 is a true and correct copy of excerpts of the

deposition of Dr. Eldridge F. Bills.

         133.      Annexed hereto as Exhibit 133 is a true and correct copy of Dr. Carey’

Supplemental Expert Report, bates stamped CAREY000332.




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         134.      Annexed hereto as Exhibit 134 is a true and correct copy of the Opening Statement

of Ranking Member of Ron Johnson at the Senate Report hearing, dated November 15, 2022, bates

stamped NBCU003898.

         135.      Annexed hereto as Exhibit 135 is a true and correct copy of the written testimony

of Dr. Peter Cherouny before the Permanent Subcommittee on Investigations, dated November 15,

2022, bates stamped NBCU003890.

         136.      Annexed hereto as Exhibit 136 is a true and correct copy of the testimony of Dr.

Margaret Mueller before the Permanent Subcommittee on Investigations, dated November 15,

2022, bates stamped NBCU003870.

         137.      Annexed hereto as Exhibit 137 is a true and correct copy of representative

communications between Dr. Amin’s counsel and news organizations: email threads between

Counsel and the Associated Press from September 15, 2020 to November 24, 2020, bates stamped

AMIN_0000069, AMIN_000464, AMIN_0001230; email threads between Counsel and the

Atlanta Journal-Constitution from September 16, 2020 to September 26, 2020, bates stamped,

AMIN_0000413, AMIN_0000089; email threads between Counsel and Prism from September 17,

2020 to October 6, 2020, bates stamped AMIN_0000419, AMIN_0000124; and email threads

between Counsel and The Intercept from September 15, 2020 to September 30, 2020, bates

stamped, AMIN_0000936, AMIN_0001093.

         138.      Annexed hereto as Exhibit 138 is a true and correct copy of Dr. Amin’s patient

count from January 1, 2017 through December 31, 2017, bates stamped AMIN_0026546.

         139.      Annexed hereto as Exhibit 139 is a true and correct copy of Dr. Amin’s patient

count from January 1, 2022 through December 31, 2022, bates stamped AMIN_0026595.




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         140.      Annexed hereto as Exhibit 140 is a true and correct copy of Dr. Amin’s patient

count from January 1, 2018 through December 31, 2018, bates stamped AMIN_0026411.

         141.      Annexed hereto as Exhibit 141 is a true and correct copy of Dr. Amin’s patient

count from January 1, 2021 through December 31, 2021, bates stamped AMIN_0026668.

         142.      Annexed hereto as Exhibit 142 is a true and correct copy of Dr. Amin’s patient

count from January 1, 2020 through December 31, 2020, bates stamped AMIN_0026736.

         143.      Annexed hereto as Exhibit 143 is a true and correct copy of the Settlement

Agreement with DOJ, executed January of 2015, bates stamped AMIN_0011550.

         144.      Annexed hereto as Exhibit 144 is a true and correct copy of the Status Report on

Stay Proceedings in Oldaker, 20-cv-00224-WLS (Md. Ga).

         145.      Annexed hereto as Exhibit 145 is a true and correct copy of an email to Dr. Amin’s

counsel from the Senate Permanent Subcommittee on Investigations transmitting a subpoena to

Dr. Amin, dated February 7, 2022, bates stamped AMIN_0011803.

         146.      Annexed hereto as Exhibit 146 is a true and correct copy of an email thread

between Dr. Amin’s counsel and the Senate Permanent Subcommittee on Investigations, dated

February 7, 2022, bates stamped AMIN_011886.

         147.      Annexed hereto as Exhibit 147 is a true and correct copy of an email thread

between Dr. Amin and the Senate Permanent Subcommittee on Investigations, dated February 21,

2022, bates stamped AMIN_011841.




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         148.      Annexed hereto as Exhibit 148 is a true and correct copy deposition excerpts of

Dr. Erin Carey.




Dated: December 19, 2023
New York, New York


                                                       _______________________________
                                                       ELIZABETH A. MCNAMARA




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